           Case 7:21-cv-00465-LSC Document 28 Filed 04/21/21 Page 1 of 5                        FILED
                                                                                       2021 Apr-21 PM 03:28
                                                                                       U.S. DISTRICT COURT
                                                                                           N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               WESTERN DIVISION


 STATE OF WEST VIRGINIA, et al.,                   Case No. 7:21-cv-00465-LSC

                     Plaintiffs,

            v.

 U.S. DEPARTMENT OF THE
 TREASURY, et al.,

                     Defendants.




                     JOINT MOTION TO SET BRIEFING SCHEDULE
       On March 31, 2021, Plaintiffs filed a complaint challenging a provision of the

American Rescue Plan Act of 2021, see ECF No. 1, and on April 13, 2021, Plaintiffs filed a

preliminary-injunction motion seeking to enjoin that provision, see ECF No. 21. The par-

ties have conferred and jointly request that the Court set the following agreed-upon brief-

ing schedule:

                        Action                                   Proposed Date
 All amicus briefs in support of Plaintiffs 1                    April 30, 2021
 Defendants’ opposition to Plaintiffs’ prelimi-
                                                                   May 7, 2021
 nary-injunction motion
 All amicus briefs in support of Defendants                        May 7, 2021
 Plaintiffs’ reply in support of their preliminary-
                                                                  May 14, 2021
 injunction motion
       Plaintiffs additionally request that the Court set a hearing to consider Plaintiffs’

motion at the Court’s earliest convenience following briefing.


DATED: April 21, 2021                        Respectfully submitted,

       1   The parties consent to all amicus briefs filed by the proposed deadlines.


                                               1
        Case 7:21-cv-00465-LSC Document 28 Filed 04/21/21 Page 2 of 5




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                                     3
        Case 7:21-cv-00465-LSC Document 28 Filed 04/21/21 Page 4 of 5




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                                       4
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